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                                 MINUTES


  CASE NUMBERS:        CV NO. 17-00254 HG-KJM

                       CV NO. 14-00217 HG-RLP
  CASE NAMES:          Olympus Insurance Company v. Cara Barber,
                       Ohana Military Communities, LLC; Forest
                       City Residential Management, Inc.; United
                       Services Automobile Association

                       Cara Barber v. Ohana Military
                       Communities, LLC; Forest City Residential
                       Management, Inc.
  ATTYS FOR PLA        Patricia K. Wall, Esquire
  OLYMPUS              Matthew C. Scarfone, Esquire, by
  INSURANCE:           telephone
  ATTYS FOR DEFT       Terrance M. Revere
  CARA BARBER:         Patrick Kyle Smith, Esquire

  ATTY FOR DEFTS
  OHANA MILITARY       Randall C. Whattoff, Esquire
  AND FOREST CITY
  RESIDENTIAL
  MGMT:

  ATTY FOR             Carlos D. Perez-Mesa Jr., Esquire
  INTERVENOR DEFT
  UNITED SERVICES
  AUTOMOBILE
  ASSOCIATION:


       JUDGE:    Helen Gillmor            REPORTER:     Cynthia Fazio

       DATE:     9/5/2018                 TIME:         10:30am-11:45am


 COURT ACTION:                            EP: STATUS CONFERENCE

 Discussion held regarding subject-matter jurisdiction and
 the pending motions in Olympus Insurance Co. v. Cara Barber,
 et al, 17-cv-00254 HG-KJM and the pending motions in Cara
 Barber v. Ohana Military Communites, et al., 14-cv-00217 HG-
 RLP.


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 [11:07] The Court recessed to allow the Parties to confer
 outside the presence of the Court.

 [11:30] The Court reconvened.

 Further discussion held.

 The Parties agree to engage in settlement discussions before
 Magistrate Judge Kenneth J. Mansfield in the pending related
 cases: 17-cv-00254 HG-KJM, 18-cv-00042 KJM, and 14-cv-00217
 HG-RLP.


 I.    Cara Barber v. Ohana Military Communities, LLC, et al,
       14-cv-00217 HG-RLP is HELD IN ABEYANCE

 The Court will hold proceedings in abeyance to allow the
 Parties to pursue global settlement.

 The briefing on Plaintiff Cara Barber’s Motion to Dismiss
 (ECF No. 436) is HELD IN ABEYANCE and the briefing schedule
 is VACATED.

 The letter    sent from Defendants Ohana Military Communities
 and Forest    City Residential Management dated July 31, 2018
 requesting    a scheduling conference as to their Motion to
 Disqualify    Counsel (ECF No. 442) is HELD IN ABEYANCE.

 The Parties shall notify the Court as to the progress of
 settlement discussions.


 II. Olympus Insurance Co. v. Cara Barber, et al., 17-cv-
     00254 HG-KJM is HELD IN ABEYANCE

       A.    Defendant Cara Barber’s Motion to Dismiss For Lack
             of Diversity Jurisdiction (ECF No. 50)

       Defendant Cara Barber’s MOTION TO DISMISS FOR LACK
       OF DIVERSITY JURISDICTION (ECF No. 50)

       and

       Defendant-Intervenor UNITED SERVICES AUTOMOBILE
       ASSOCIATION’S SUBSTANTIVE JOINDER TO DEFENDANT
       CARA BARBER’S MOTION TO DISMISS FOR LACK OF

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       DIVERSITY JURISDICTION (ECF No. 53)

       are HELD IN ABEYANCE.


       B.    Plaintiff’s Motion For Leave To File First Amended
             Complaint (ECF No. 49)

 The Court UNREFERS Plaintiff’s MOTION FOR LEAVE TO FILE
 FIRST AMENDED COMPLAINT FOR DECLARATORY RELIEF (ECF No. 49).

 The hearing on Plaintiff’s Motion for Leave currently set
 for September 19, 2018 before Magistrate Judge Kenneth J.
 Mansfield is hereby VACATED.

 Plaintiff’s Motion for Leave to File First Amended Complaint
 (ECF No. 49) is HELD IN ABEYANCE.

 The Parties shall notify the Court as to the progress of
 settlement discussions.


 Submitted by: Rachel Sharpe, Courtroom Manager




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